









	







IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1576-05






ANTHONY DIXON, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTEENTH COURT OF APPEALS


BRAZORIA  COUNTY





		Keller, P.J., delivered the opinion of the Court in which WOMACK,
KEASLER, HERVEY, HOLCOMB, and COCHRAN, JJ., joined.  COCHRAN, J., filed
a concurring opinion in which HOLCOMB, J., joined.  PRICE, J., filed a dissenting
opinion in which MEYERS and JOHNSON, JJ., joined.


	What kind of harm analysis is appropriate when a trial court errs by refusing a defendant's
request to require the State to elect from among multiple offenses?  How is it to be employed?  The
Court of Appeals found harm under a constitutional-error harm analysis and reversed the conviction. 
We find that the Court of Appeals erred in the manner of its analysis, and we reverse its judgment.

I. BACKGROUND


A. Trial


	Appellant was indicted for aggravated sexual assault of a child.  The victim was appellant's
niece, who was six years old at the time the abuse occurred and seven years old at the time of trial. 
During the year 2002, while the child was six, appellant lived with the child, her mother, and the
mother's boyfriend.  Appellant slept on the couch in the child's bedroom.  In response to the
prosecutor's inquiries, the child related a sequence of events that occurred every time appellant
sexually assaulted her.  Each time, appellant would undress himself and remove the child's
underwear.  He would touch her "private parts" with his hand and then touch her "private parts" with
his "private parts."  The child's testimony indicated that, by "private parts," she meant genitalia. 
According to the victim, this sequence of events occurred one hundred times.  Except for one time
during the day, this activity always occurred at night.   The child could not remember the last time
she was sexually assaulted, and she gave no further details regarding this activity.  

	A nurse reported possible abuse to Child Protective Services (CPS).  On July 10, 2002, a case
worker for CPS went to the child's home to interview the family, but the mother's boyfriend barred
entry.  The case worker returned the next day with a co-worker and some police officers, and she
spoke to the child and the child's mother.  While the case worker was in the home, she saw appellant
sleeping on the couch in the child's bedroom.  She spoke to him as well and then called her
supervisor.   After speaking to her supervisor, the case worker had the child taken into CPS's
custody.  She also instructed the police officers to take the comforter from the child's bed to test for
evidence of semen.

	On July 18, 2002, the victim was taken to a pediatrician for an examination.  The
examination revealed that the hymen was completely absent from the "five o'clock" to "eight
o'clock" positions.  The pediatrician remarked that this condition was uncommon even in child
abuse victims and constituted "clear evidence of penetrating vaginal trauma" stemming from
multiple incidents of abuse.  However, the pediatrician could not say when the hymenal injury
occurred.  The examination also revealed two bumps that looked like the beginning of genital warts,
but there were no indications of injury to the labia, the vestibule, or the clitoris.  The child was
examined too late for semen to be present.

	Semen stains were found on the comforter, but the condition of the stains were such that there
was no way of knowing how long they had been present.  Appellant's own testimony suggests that
he admitted to law enforcement that the semen stains were his, because he had slept in the child's
bed when she was not at home. (1)

	When the child testified that the sexual assaults had occurred one hundred times, defense
counsel requested a limiting instruction.  At the end of the State's case-in-chief and at the close of
the evidence, defense counsel requested that the State be required to elect which instance of sexual
assault it would rely upon for conviction.  Defense counsel also requested that the jury charge be
modified to reflect an election for one offense.  These requests were denied.  In denying appellant's
request at the end of the State's case-in-chief, the trial court commented: "I will deny your motion
because I have no earthly idea what to do with the election in the indictment."

B. Appeal


	The Court of Appeals held that the trial court erred in failing to grant appellant's election
request. (2)  Deciding that the error was constitutional in nature, the court further found that it was not
harmless beyond a reasonable doubt. (3)  In arriving at this latter conclusion, the appellate court relied
upon two of its prior cases: Phillips v. State (4) and Farr v. State (5). (6)  Phillips gave four reasons for the
election rule: 

(1) to protect the accused from the introduction of extraneous offenses, 


(2) to minimize the risk that the jury might choose to convict, not because one or
more crimes were proved beyond a reasonable doubt, but because all of them
together convinced the jury the defendant was guilty,


(3) to ensure unanimous verdicts, that is, all of the jurors agreeing that one specific
incident, which constituted the offense charged in the indictment, occurred, and 


(4) to give the defendant notice of the particular offense the State intends to rely upon
for prosecution and afford the defendant an opportunity to defend. (7)


Of the four underlying reasons cited by Phillips, the Court of Appeals emphasized the requirement
of juror unanimity, which it believed was undermined in the present case because, without an
election, "some [jurors] may have selected a nighttime offense, while others may have chosen the
daytime assault." (8)  In passing, the appellate court also suggested that the refusal to require an election
deprived appellant of notice of what offense the State intended to rely upon and exposed him to the
risk that the jury would convict in the absence of proof beyond a reasonable doubt. (9)

	In a concurring opinion, Justice Frost gave her opinion that the election error was harmful
even under the standard for nonconstitutional errors. (10)  In a dissent, Justice Hudson concluded that
the error was harmless, even under the constitutional standard, because none of the four purposes
were frustrated by the failure to grant the election. (11)

C. Discretionary Review        


	In its petition for discretionary review, the State contends that the Court of Appeals made two
mistakes: (1) finding harm under the facts of the case, and (2) using the standard of harm for
constitutional, rather than nonconstitutional, errors.

II. ANALYSIS


	One of our seminal election cases conducted a harm analysis, without explaining whether or
not the underlying error was constitutional.  In O'Neal v. State, the defendant's stepdaughter testified
that the defendant "had been having sexual intercourse with her on a regular basis since she was five
years old." (12)   The stepdaughter "then gave a detailed account of an act of intercourse that occurred
on or about April 24, 1984." (13)  In addition, the defendant's daughter, who slept in the same bed, 
"testified that she had witnessed numerous acts of intercourse between appellant and the complainant
over the past three or four years." (14)  The defendant moved to elect both at the end of the State's case
and at the close of all the evidence, but the trial court did not grant the motion until the latter point
in time, (15) and this Court found this delay in granting the motion to be error. (16)  In finding the error
harmless, this Court emphasized that the testimony of both the complainant and her stepsister
focused on the act that occurred on April 24, 1984, and consisted of a detailed account of the
incident. (17)  Under the circumstances, the State's case-in-chief evidence "clearly gave notice to the
appellant which act of intercourse the State would rely upon for conviction," and so the defendant
was not harmed by the late election. (18)

	Unlike in O'Neal, the complaining witness in this case did not testify about one distinct,
detailed incident.  Rather, she described the manner in which appellant sexually assaulted her and
said that it occurred numerous times.  Consequently, all of the incidents presented in the case were
presented with equal specificity, and, except for the fact that one incident occurred during the day,
none of the incidents were distinguished in any manner from each other.  O'Neal did not, however,
purport to hold that error was harmless only under the circumstances before it; the Court simply
found the error in that case to be harmless for the reasons it outlined, without attempting to
determine how other situations should be treated.  We turn, then, to the Court of Appeals's handling
of the harm analysis in the present case.

	Recently, on discretionary review from the court of appeals's decision in Phillips, this Court
has held that election error, at least insofar as it implicates notice and jury unanimity, is analyzed
under the harm standard applicable to constitutional errors. (19)  This Court also approved as accurate 
the four purposes cited therein as underlying the election rule. (20)  We turn, then, to those purposes in
addressing the question of harm.        

	The first purpose may be easily dispensed with: appellant was not entitled to be protected
from the admission of evidence of extraneous sexual offenses committed by him against the child. 
Article 38.37 permits the admission of evidence of these offenses to show the previous and
subsequent relationship between appellant and the child victim. (21)  It may be argued that protection
against the introduction of extraneous offenses includes protection against impermissible uses via
a limiting instruction.  Even if that is so, a limiting instruction would have been of no practical use
in the present case, where no attempt was made by the child to meaningfully distinguish the various
offenses.

	With regard to the second purpose, we see no risk that the jury found appellant guilty of an
offense that was not proven to its satisfaction beyond a reasonable doubt.  The "multiple offenses" 
were all recounted by the same source - the child.  This case is not concerned with evidence of
different activities from different sources that a jury might perceive to "add up" to the defendant
being guilty even though no individual offense was proven beyond a reasonable doubt.  Moreover, 
the child complainant did not testify about a number of varied incidents with differing details that
might have incrementally added to the idea that the defendant must have done something to provoke
the plethora of stories about his activities.  Rather, the child articulated one sequence of events and
merely answered that this sequence happened one hundred times, with all but one of those instances
occurring at night.  The child was either credible in giving this unified account or she was not. 
Whether the sequence of events was alleged to have occurred one, ten, fifty, or one hundred times
does not by itself impact the believability of the child's story.  

	Of course, the child's allegation of multiple instances is made more credible by its
consistency with the medical evidence.  But that fact mitigates against harm rather than in favor of
it.  Because the medical evidence very strongly pointed to multiple incidents of sexual trauma,
appellant was faced, not with a risk that the jury would convict despite the State's failure to prove
any particular offense beyond a reasonable doubt, but with the overwhelming likelihood that the jury
would believe that multiple offenses had been proven beyond a reasonable doubt.  Fortunately for
appellant, the jury in this case could convict him of only one, and the State's failure to elect means
the remaining offenses will be jeopardy-barred. (22)  

	We likewise perceive no risk that the present case led to a non-unanimous verdict.  The only
distinguishing detail among the one hundred offenses is that one occurred during the day, while all
the others happened at night.  The difference is the result of a single line of the child's testimony - 
in fact, the use of a single word, "daytime," as denoting one of those one hundred incidents.  But
there is simply no basis in the record for the jury to believe that one incident occurred during the day
but that none occurred at night.  The nighttime scenario being typical (ninety-nine out of one
hundred), it is obvious from this record that anyone who believed the complainant's allegations in
any respect would believe that sexual assaults occurred at night. (23)

	 Finally, we reject the notion that appellant was deprived of adequate notice.  As we have
already discussed, the only distinction made between the incidents is that one occurred during the
day.  But "time is not [usually] a material element of an offense," and in some cases "it may be
impossible for the State to know precisely, or even approximately, when the charged offense
occurred." (24)  Especially where young children are involved, we have cautioned that courts cannot
impose unrealistic expectations regarding proof of when an offense actually occurred: "[I]t is not
often that a child knows, even within a few days, the date that she was sexually assaulted. And, the
younger the child, the greater the possibility" that she will be uncertain about the timing of the
offense. (25)  Without more, a variance in the time of day is not a basis for claiming lack of notice.  And
in this case, there is no more. (26) 

	Further, there is no real doubt regarding which option the State would pick if forced to
choose whether the offense relied upon was committed during the day or at night: it would pick the
night, a characteristic shared by ninety-nine percent of the offenses about which the victim testified.
And as previously discussed, there is no remotely significant risk, under the facts of this case, that
a jury would convict appellant without believing that he committed an offense at night.  

	We are confident beyond a reasonable doubt that the error in failing to require an election did
not contribute to appellant's conviction or punishment.  Consequently, we reverse the judgment of
the Court of Appeals and remand the case to that court for further proceedings consistent with this
opinion.

Date delivered: September 13, 2006

Publish      
1.   The interchange occurred during cross-examination as follows:


	Q.  And you told Officer Worsham that your semen would be on the comforter because
you slept on there, is that correct?


	A.  I guess.


During re-direct, appellant explained that the child was not there when he slept in her bed. 
Outside the presence of the jury, the State elicited testimony that one of the semen stains was in
sufficient condition for DNA comparison, and that the DNA test showed a match with
appellant's DNA profile.  But the trial court suppressed evidence of appellant's DNA profile due
to inaccurate information contained in the warrant used to obtain appellant's blood sample. 
Consequently, we do not consider the DNA evidence in our analysis.   
2.   Dixon v. State, 171 S.W.3d 432, 434-435 (Tex. App.- Houston [14th Dist.] 2005).
3.   Id. at 435-437.
4.   130 S.W.2d 343 (Tex. App.-Houston [14th Dist.] 2004), aff'd, 193 S.W.3d 904 (Tex.
Crim. App. 2006).
5.   140 S.W.3d 895 (Tex. App.-Houston [14th Dist.] 2004), aff'd sub. nom., Phillips v.
State, 193 S.W.3d 904 (Tex. Crim. App. 2006).
6.   Dixon, 171 S.W.3d at 436-437.
7.   See Phillips, 130 S.W.3d at 349.
8.   Id. at 436.
9.   Id. at 436 n. 6.
10.   Id. at 438-439 (Frost J., concurring).
11.   Id. at 440-442 (Hudson J., dissenting).
12.   746 S.W.2d 769, 770 (Tex. Crim. App. 1988). 
13.   Id.
14.   Id.
15.   Id. at 771.
16.   Id. at 772.
17.   Id.
18.   Id. at 773.
19.   Phillips v. State, 193 S.W.3d 904 (Tex. Crim. App. 2006)..
20.   Id. at 913-914.
21.   Tex. Code Crim. Proc., Art. 38.37, §§1(1), 2(2).  The State filed a notice of intent to
introduce extraneous offenses that included appellant touching the victim's sexual organ with his
hand and his sexual organ "on numerous occasions in Brazoria County Texas within the last six
years."  See Art. 38.37, §3.
22.   See Ex parte Goodbread, 967 S.W.2d 859 (Tex. Crim. App. 1998).
23.   The dissent contends that "with one hundred undifferentiated incidents to consider as
evidence of one charged offense, there is a distinct danger that the jurors will fail to reach a
unanimous verdict . . . but . . . could convict on as many as twelve different incidents."  Dissent
at 4.  But it is meaningless to say the jurors in this case could have disagreed about which
incident was the basis for conviction.  The offenses were described as identical and any one of
them could have occurred on any given day during the time period appellant stayed with the
victim's family.  Aside from the day/night distinction discussed in the body of this opinion, what
precisely would the jurors be disagreeing about?  Clearly, however, the jurors unanimously
agreed that appellant committed at least one sexual assault, at night, sometime during the year, in
the manner described by the complainant.    
24.   Garcia v. State, 981 S.W.2d 683, 686 (Tex. Crim. App. 1998). 
25.   Sledge v. State, 953 S.W.2d 253, 256 n. 8 (Tex. Crim. App. 1997).
26.   The dissent claims that we err in relying upon Garcia for the proposition that the
failure to elect in this case did not deprive appellant of notice.  However, we cite Garcia, in part,
to answer the Court of Appeals's suggestion that appellant needed notice of whether the offense
occurred during the day or at night, and the dissent does not explain why our citation to Garcia
fails in that purpose.

	The dissent does suggest that notice requires enabling the defendant "to differentiate [the
incident relied upon for conviction] from all other, uncharged-but-admissible incidents," dissent
at 3, but the dissent does not offer a reason for imposing such a requirement.  When a young
child is simply unable to differentiate between the incidents other than to say they occurred at
different points in time, and no other evidence in the case does so, any attempt by the State to
differentiate incidents would be wholly arbitrary.  While we may require such an attempt as part
of a generally applicable rule, and in an abundance of caution, we cannot say that the failure to
differentiate in such a situation truly deprives the defendant of notice, when the State has given
all the notice it can.       


